                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

JACKSONVILLE BRANCH
OF THE NAACP, et al.,
       Plaintiffs,
                                                Case No. 3:22-cv-493-MMH-LLL
v.
CITY OF JACKSONVILLE, et al.,
       Defendants.
                                      /

                 PROPOSED ORDER GRANTING PLAINTIFFS’
                  MOTION FOR PRELIMINARY INJUNCTION

       Before the Court is Plaintiffs’ Motion for Preliminary Injunction. After
reviewing the Motion and exhibits attached thereto, Defendants’ Response, and
Plaintiffs’ Reply, and the applicable caselaw, it is hereby ORDERED:

      1.      Plaintiffs’ Motion for Preliminary Injunction is GRANTED.

       2.     Defendants the City of Jacksonville; Mike Hogan, in his official capacity
as Duval County Supervisor of Elections; and their officers, agents, employees, and
attorneys who receive actual notice of this Order by personal service or otherwise, are
immediately enjoined from conducting any elections using the Jacksonville City
Council and Duval County School Board districts enacted in Ordinance 2022-01-E,
until entry of a final judgment in this case.

      3.     Plaintiffs are not required to provide a bond or other security before this
preliminary injunction becomes effective.

      DONE AND ORDERED in Jacksonville, Florida this ___ day of _____, 202__.

                                          _________________________________
                                            MARCIA MORALES HOWARD
                                               United States District Judge


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